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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                              Case No. 20-23529-CV-WILLIAMS

  K&L EXPORTS, CORP.,

         Plaintiff,


  vs.

  CORPORACION VENEZOLANA
  DE COMERCIO EXTERIOR, S.A.,

         Defendant.

  ____________________________/

                                             ORDER

         THIS MATTER is before the Court on the Revised Report and Recommendation

  issued by Chief Magistrate Judge Edwin Torres on Plaintiff’s Renewed Motion for Default

  Judgment (DE 23). In the Report, Magistrate Judge Torres recommended the Court grant

  in part and deny in part the Motion. Neither party filed objections to the Report, and the

  time to do so has passed.

         Having reviewed the Report, the record, and the applicable law, and having

  received no objections from Plaintiff or Defendant, it is ORDERED AND ADJUDGED as

  follows:

             1. The Report (DE 27) is AFFIRMED AND ADOPTED;

             2. Plaintiff’s Renewed Motion for Default Judgment (DE 23) is GRANTED IN

                  PART AND DENIED IN PART;

             3. Plaintiff must supplement the record as it pertains to its damages

                  calculation within THIRTY (30) DAYS of the date of this Order. Plaintiff shall
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                style its filing as a “supplemental motion for damages,” which shall be no

                longer than ten pages in length. Plaintiff must attach affidavits and/or

                exhibits to support its calculation pursuant to Federal Rule of Civil

                Procedure 55(b).

          DONE AND ORDERED in Chambers in Miami, Florida, this 16th day of March,

  2022.




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